      20-51083-rbk Doc#4 Filed 06/12/20 Entered 06/12/20 23:26:31 Imaged Certificate of
                                      Notice Pg 1 of 4

 Information to identify the case:
 Debtor
                   KrisJenn Ranch, LLC, Series Ulvade Ranch                                    EIN 74−2840947
                   Name


 United States Bankruptcy Court Western District of Texas
                                                                                               Date case filed for chapter 11 4/27/20
 Case number: 20−51083−rbk




Official Form 309F1 (For Corporations or Partnerships)
Notice of Chapter 11 Bankruptcy Case                                                                                                                   02/20

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors and debtors, including information about the
meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.

  1. Debtor's full name                       KrisJenn Ranch, LLC, Series Ulvade Ranch


  2. All other names used in the
     last 8 years


  3. Address                                  410 Spyglass Rd
                                              McQueeney, TX 78123−3418

  4. Debtor's attorney                        Ronald J. Smeberg                                          Contact phone (210) 695−6684
      Name and address                        The Smeberg Law Firm, PLLC
                                              2010 W Kings Hwy                                           Email: ron@smeberg.com
                                              San Antonio, TX 78201−4926

  5. Bankruptcy clerk's office                                                                            Hours open:
      Documents in this case may be filed                                                                 Monday − Friday 8:00 AM − 4:00 PM
      at this address.
      You may inspect all records filed in    615 E. HOUSTON STREET, ROOM 597
      this case at this office or online at   SAN ANTONIO, TX 78205                                       Contact phone (210) 472−6720
      www.pacer.gov. See Court website
      for electronic filing information:                                                                  Date: 6/10/20
      www.txwb.uscourts.gov.


  6. Meeting of creditors                                                                                Location:
      The debtor's representative must    July 13, 2020 at 09:30 AM
      attend the meeting to be questioned                                                                Phone:(866)909−2905; Code:
      under oath.                         The meeting may be continued or adjourned to a later           5519921#
      Creditors may attend, but are not   date. If so, the date will be on the court docket.
      required to do so.

                                                                                                           For more information, see page 2 >




Official Form 309F1 (For Corporations or Partnerships)                   Notice of Chapter 11 Bankruptcy Case                                         page 1
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                                      Notice Pg 2 of 4
Debtor KrisJenn Ranch, LLC, Series Ulvade Ranch                                                                           Case number 20−51083−rbk


  7. Proof of claim deadline                 Deadline for filing proof of claim:
                                             For all creditors (except a governmental                     10/13/20
                                             unit):
                                             For a governmental unit:                                      Provided in Fed. R. Bankr. P. 3002 (c)(1)): not
                                                                                                           later than 180 days after the date of the order
                                                                                                           for relief)
                                             A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                             at www.uscourts.gov or any bankruptcy clerk's office.
                                             Your claim will be allowed in the amount scheduled unless:
                                             • your claim is designated as disputed, contingent, or unliquidated;
                                             • you file a proof of claim in a different amount; or
                                             • you receive another notice.
                                             If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                             must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                             You may file a proof of claim even if your claim is scheduled.
                                             You may review the schedules at the bankruptcy clerk's office or online at www.pacer.gov.
                                             Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                             proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                             explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                             rights, including the right to a jury trial.


  8. Exception to discharge                  If § 523(c) applies to your claim and you seek to have it
     deadline                                excepted from discharge, you must start a judicial
      The bankruptcy clerk's office must     proceeding by filing a complaint by the deadline stated
      receive a complaint and any            below.
      required filing fee by the following   Deadline for filing the complaint:                            __________
      deadline.


                                             If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
  9. Creditors
     address
               with a foreign                extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                             have any questions about your rights in this case.


                                             Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                             court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
  10. Filing a Chapter 11
      bankruptcy case
                                             and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                             hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a
                                             trustee is serving, the debtor will remain in possession of the property and may continue to operate its
                                             business.


                                             Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                             debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
  11. Discharge of debts                     debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                             discharge and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and
                                             paying the filing fee in the bankruptcy clerk's office by the deadline.




Official Form 309F1 (For Corporations or Partnerships)                   Notice of Chapter 11 Bankruptcy Case                                          page 2
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                                       United States Bankruptcy Court
                                         Western District of Texas
In re:                                                                                  Case No. 20-51083-rbk
KrisJenn Ranch, LLC, Series Ulvade Ranch                                                Chapter 11
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 0542-5            User: gonzalezr             Page 1 of 2                   Date Rcvd: Jun 10, 2020
                                Form ID: 309F1              Total Noticed: 31


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 12, 2020.
db              KrisJenn Ranch, LLC, Series Ulvade Ranch,     410 Spyglass Rd,    McQueeney, TX 78123-3418
18033687       +Albert, Neely & Kuhlmann, LLP,     1600 Oil & Gas Building,    309 W 7th St,
                 Fort Worth, TX 76102-5113
18033744        Angelina County Tax Assessor,     606 E. Lufkin,    Lufkin, TX 75901-0434
18033689        Bigfoot Energy Services, LLC,     312 W Sabine St,    Carthage, TX 75633-2519
18033690        C&W Fuels, Inc.,    Po Box 40,    Hondo, TX 78861-0040
18033691       +CLEVELAND TERRAZAS PLLC,    Timothy Cleveland,     4611 Bee Cave Road, Suite 306 B,
                 Austin, TX 78746-5284
18033692        Davis, Cedillo & Mendoza, Inc.,     755 E Mulberry Ave Ste 500,     San Antonio, TX 78212-3135
18033693        Granstaff Gaedke & Edgmon PC,     5535 Fredericksburg Rd Ste 110,     San Antonio, TX 78229-3553
18033694       +Guadalupe County,    c/o Tara LeDay,    P.O. Box 1269,    Round Rock, TX 78680-1269
18033695       +Hopper’s Soft Water Service,    120 W Frio St,     Uvalde, TX 78801-3699
18033747        Johns & Counsel PLLC,    Christopher S Johns,     14101 Hwy 290 West, Ste 400A,
                 Austin, TX 78737-9376
18033697        Larry Wright,    410 Spyglass Rd,    Mc Queeney, TX 78123-3418
18033698        Longbranch Energy,LP / DMA Properties, Inc.,      c/o Michael J. Black,    BURNS & BLACK, PLLC,
                 750 Rittiman Road,    San Antonio, TX 78209-5500
18033699      #+Longbranch Engery,    DUKE, BANISTER, RICHMOND, PLLC,     Jeffrey Duke,    P.O. Box 175,
                 Fulshear, TX 77441-0175
18033700        McLeod Oil, LLC,    c/o John W. McLeod, Jr.,     700 N Wildwood Dr,    Irving, TX 75061-8832
18033701       +McLeod Oil, LLC,    c/o Laura L. Worsham,    Jones Allen & Fuquay, LLP,     8828 Greenville Avenue,
                 Dallas, Texas 75243-7143
18033703        Medina’s Pest Control,    1490 S Homestead Rd,     Uvalde, TX 78801-7625
18033705        Nacogdoches County, et al.,    c/o Tab Beall,     Perdue Brandon Fielder Collins & Mott,
                 PO Box 2007,    Tyler, TX 75710-2007
18033706        Rusk County Appraisal District,     107 N Van Buren St,    Henderson, TX 75652-3113
18033708       +Shelby County Tax Collector,    200 St. Augustine St.,     Center, TX 75935-3959
18033709        Tenaha ISD Tax Assessor-Collector,     138 College St,    Tenaha, TX 75974-5612
18033711       +Texas Farm Store,    236 E Nopal St,    Uvalde, TX 78801-5391
18033712        Uvalco Supply,    2521 E Main St,    Uvalde, TX 78801-4940
18033713       +Uvalde County Tax Assessor,    Courthouse Plaza, Box 8,     Uvalde, TX 78801-5239
18033714       +Uvalde County Tax Office,    c/o Carlos M. Arce,     Perdue, Brandon, Fielder, Collins & Mott,
                 613 NW Loop 410, Ste. 550,    San Antonio, TX 78216-5593

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: ron@smeberg.com Jun 11 2020 01:55:20     Ronald J. Smeberg,
                 The Smeberg Law Firm, PLLC,   2010 W Kings Hwy,   San Antonio, TX 78201-4926
ust             E-mail/Text: USTPRegion07.SN.ECF@usdoj.gov Jun 11 2020 01:55:55
                 United States Trustee - SA12,   US Trustee’s Office,   615 E Houston, Suite 533,     PO Box 1539,
                 San Antonio, TX 78295-1539
18033688        E-mail/Text: houston_bankruptcy@LGBS.com Jun 11 2020 01:56:15      Angelina County,
                 c/o John P. Dillman,   Linebarger Goggan Blair & Sampson LLP,    P.O. Box 3064,
                 Houston, Tx 77253-3064
18033702        E-mail/Text: consumeraccounting@medinaec.org Jun 11 2020 01:56:35      Medina Electric,
                 2308 18th St.,   Po Box 370,   Hondo, TX 78861-0370
18033707        E-mail/Text: houston_bankruptcy@LGBS.com Jun 11 2020 01:56:15      Shelby County,
                 c/o John P. Dillman,   Linebarger Goggan Blair & Sampson LLP,    P.O. Box 3064,
                 Houston, Tx 77253-3064
18033710        E-mail/Text: pacer@cpa.state.tx.us Jun 11 2020 01:56:28
                 Texas Comptroller of Public Accounts,   Capitol Station,   Po Box 13528,
                 Austin, TX 78711-3528
                                                                                             TOTAL: 6

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
18033696          Internal Revenue Service,    Po Box 7346,   Philadelphia, PA 19101-7346,   JOHNS &COUNSEL PLLC,
                   Christopher S. Johns,    14101 Highway 290 West, Suite 400A
18033704          Nacogdoches County Tax Assessor,    101 W Main St Ste 100,   Nacogdoches, TX 75961-4820,
                   METTAUER LAW FIRM, PLLC,    c/o April Prince,   403 Nacogdoches St Ste 1
                                                                                               TOTALS: 2, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.
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District/off: 0542-5                  User: gonzalezr                    Page 2 of 2                          Date Rcvd: Jun 10, 2020
                                      Form ID: 309F1                     Total Noticed: 31


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 12, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 10, 2020 at the address(es) listed below:
              Ronald J. Smeberg   on behalf of Debtor    KrisJenn Ranch, LLC, Series Ulvade Ranch
               ron@smeberg.com, ronaldsmeberg@yahoo.com
              United States Trustee - SA12   USTPRegion07.SN.ECF@usdoj.gov
                                                                                             TOTAL: 2
